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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

SECURITIES AND EXCHANGE                §
COMMISSION,                            §
                                       §
                    Plaintiff          §
                                       §            Cause No. 3:09-cv-0298-N
v.                                     §
                                       §
STANFORD INTERNATIONAL BANK,           §
LTD., ET AL.,                          §
                    Defendants.


 THE RECEIVER’S AND THE OFFICIAL STANFORD INVESTORS COMMITTEE’S
  JOINT RESPONSE TO BDO USA LLP’S MOTION TO QUASH SUBPOENA OR,
         IN THE ALTERNATIVE, MOTION TO MODIFY SUBPOENA




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        The Receiver Ralph S. Janvey (the “Receiver”) and the Official Stanford Investors

Committee (the “Investors Committee”) jointly file this Response to Third Party BDO USA,

LLP’s Motion to Quash Subpoena or, in the Alternative, Motion to Modify Subpoena. The

Receiver and the Investors Committee respectfully show the Court as follows:

                                          I.    INTRODUCTION

        On March 1, 2011, the Receiver issued a subpoena for the production of documents to

BDO Seidman (the “Subpoena”). The Subpoena generally requests that BDO Seidman produce

all documents concerning the audit and other services it provided to any of the Stanford

Companies. 1 (For purposes of this Response, “Stanford Company” or “Stanford Companies”

means one or more of the Stanford Financial Group entities owned or controlled by R. Allen

Stanford, including but not limited to, Stanford Group Company, Stanford Trust Company,

Stanford Group Holdings, Stanford International Bank Limited, and any other entities owned or

controlled by these entities or by Stanford, James M. Davis, or Laura Pendergest-Holt.)

        On April 14, 2011, BDO USA, LLP (“BDO”) filed the Motion to Quash Subpoena or, in

the Alternative, Motion to Modify Subpoena (“Motion to Quash”) [1319], a Brief in Support of

the Motion to Quash (“Brief”) [1320], and an Appendix in Support of the Motion to Quash

[1321]. BDO generally objects that the Receiver is not entitled to discovery from BDO because

he is bound by certain arbitration provisions in BDO’s engagement letters with its Stanford

Company clients.       In the alternative, BDO objects to certain Instructions, Definitions, and

Requests in the Subpoena, and moves this Court to modify the Subpoena to accommodate these

objections.



1
  See generally Subpoena Request Nos. 1-24 [1270-1]. A copy of the Subpoena is also available at Tab 1 to the
Appendix in Support of the Motion to Quash Subpoena or, in the Alternative, Motion to Modify Subpoena, filed by
BDO USA, LLP on April 14, 2011 [1321].



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       The Court should deny BDO’s Motion to Quash in its entirety. First and foremost, the

Receiver is not bound by any arbitration agreements because the Subpoena was issued, in part, to

explore certain claims against BDO on behalf of the Stanford Companies’ creditors, and as the

Fifth Circuit has already ruled in these proceedings, arbitration agreements that may bind the

Stanford Companies do not apply to the Receiver when he acts on the creditors’ behalf. See

Janvey v. Alguire, 628 F.3d 164, 182 (5th Cir. 2010) (“Alguire II”). Second, the Subpoena is

proper and should be enforced as issued because it seeks documents that are otherwise vital to

the Receivership Estate. Third, BDO’s cries of a “fishing expedition” are not only unfounded,

they evince a fundamental failure to understand the Receiver’s duties to the Receivership Estate

and the Stanford Companies’ creditors. Fourth, the Receiver properly designated the Investors

Committee to pursue discovery pursuant to the Subpoena for the creditors’ benefit. Fifth and

finally, the Court should deny BDO’s Motion to Quash to the extent it seeks to modify the

Subpoena because the Subpoena is reasonably tailored under the circumstances of this case, and

BDO’s specific objections are either groundless or moot.

                                    II.   BACKGROUND

       BDO provided audit services for: (1) SGC, the broker/dealer that recommended and sold

SIB’s CDs to investors; (2) STC, the trust company that held investors’ IRA investments in those

CDs; and (3) Stanford Group Holdings (“SGH”), a holding company for several Stanford

Companies, including SGC and STC. See Motion to Quash at 1-2 (citing Declaration (“Dec.”) of

Carlos L. Ancira, Jr. at ¶ 2). (Collectively, these clients and BDO’s other Stanford Company

clients, including but not limited to Stanford Capital Management, LLC and Stanford Coins &

Bullion, Inc., are referred to as BDO’s “Stanford Company Clients”).




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                            III.   ARGUMENTS & AUTHORITIES

A.     Arbitration Does Not Apply to the Receiver’s Fraudulent Transfer Claims

       BDO’s Motion to Quash is based on the mistaken premise that the Receiver is bound to

arbitration because his potential claims require him to stand in the Stanford Companies’ shoes.

This premise fails in its entirety because one of the reasons the Receiver issued the Subpoena

was to explore potential fraudulent transfer claims on behalf of the Stanford Companies’

creditors. BDO’s contractual arbitration provisions do not apply to the Receiver when he acts on

the creditors’ behalf.

       The Receiver stands in the shoes of the creditors — not the Stanford Companies — when

he pursues fraudulent transfer claims because the remedies available under the Texas Uniform

Fraudulent Transfer Act (“TUFTA”) are “expressly directed toward creditors.” See Alguire II,

628 F.3d at 184 (citing TUFTA § 24.008(a)). As the Fifth Circuit has already ruled in these

proceedings — and as BDO itself has admitted — the Receiver is not subject to arbitration when

he stands in the creditors’ shoes. See Alguire II, 628 F.3d at 183 (“The Receiver, acting on

behalf of the creditors, is not party to the arbitration obligations between SGC and the

[defendants].”); Motion to Quash at 9-11; Brief at 9-11. In fact, the Fifth Circuit made it clear

that the entire question of arbitration “may be distilled to a simple question: in what capacity is

the Receiver suing the [defendants]?” See Alguire II, 628 F.3d at 182.

       There is substantial precedent supporting the Receiver’s power to assert the rights of

creditors to avoid fraudulent transfers, and because the Stanford Companies’ creditors are not

parties to any arbitration agreements with BDO, the Receiver is not bound by such arbitration

provisions when he acts on the creditors’ behalf. See Alguire II, 628 F.3d at 183-85. See also

Alguire II, 628 F.3d at 184-85 n.12 (distinguishing Javitch v. First Union Securities, Inc., 315

F.3d 619 (6th Cir. 2003) because the Javitch receiver sued on behalf of the insolvent


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corporation). The Receiver has broad powers to explore potential fraudulent transfer and other

claims on behalf of creditors, for he is “an instrument of court” who acts for a corporation’s

stockholders and creditors. See Alguire II, 628 F.3d at 183 (internal citation omitted). In effect,

receivers are “legal hybrids [who are] imbued with rights and obligations analogous to the

various actors required to effectively manage an estate in the absence of the ‘true’ owner.”

Alguire II, 628 F.3d at 183 (internal citation omitted). It is well settled that a receiver may

represent different interests at different points of the receivership. Alguire II, 628 F.3d at 183-84

(observing the Fifth Circuit’s prior rejection of challenges to a receiver’s standing to sue on

behalf of creditors) (citing Meyers v. Moody, 693 F.2d 1196, 1206 (5th Cir.1982)).

       Here, the Court has vested the Receiver “with full power of an equity receiver under the

common law as well as such powers as are enumerated in [the Court’s] order.” Janvey v.

Alguire, Civil Action No. 3:09–CV–0724, at 3 (N.D. Tex. filed Apr. 20, 2009) [456] (Order

granting preliminary injunction) (“Alguire I”), aff'd, Alguire II, 628 F.3d at 175. Furthermore,

the Court has specifically directed and authorized the Receiver to “[i]nstitute such actions or

proceedings to impose a constructive trust, obtain possession, and/or recover judgment with

respect to persons or entities who received assets or records traceable to the Receivership

Estate.” S.E.C. v. Stanford Int'l Bank, Ltd., Civil Action No. 3:09-CV-0298-N (N.D. Tex. Apr.

6, 2011) [10] (“Order Appointing the Receiver”). In other words, the Court has charged the

Receiver to track down and collect the illicit funds that properly belong to the Receivership

Estate and, ultimately, the Stanford Companies’ defrauded investors. S.E.C. v. Stanford Int'l

Bank, Ltd., Civil Action No. 3:09-CV-0298-N, 2011 WL 1378470, at *5 (N.D. Tex. Apr. 6,

2011); Order Appointing the Receiver [10].




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         The Receiver has determined that he may have fraudulent transfer claims against BDO,

and mindful of this Court’s charge, he issued the Subpoena to explore these and other potential

claims on the creditors’ behalf. 2 The Receiver’s preliminary investigation shows that BDO’s

domestic entity alone received $1,101,857 in transfers from the Stanford Companies between

January 2006 and February 2009. All or substantially all of these transfers will likely trace back

to the illicit proceeds of the Stanford Ponzi scheme.

         In defense of these claims, BDO will likely contend that it took the Ponzi scheme

proceeds in good faith and for reasonably equivalent value, a potential defense under TUFTA.

See, e.g., Alguire I at 13 (discussing this defense and defendant’s burden to show both objective

good faith and reasonable equivalence of consideration). In light of the Receiver’s and BDO’s

anticipated positions, discovery regarding BDO’s knowledge of the Stanford Companies’

operations and the nature and extent of BDO’s services is proper.

         The Receiver may also have other potential claims against BDO on the creditors’ behalf,

including the investors who purchased SIB CDs or had funds deposited with SIB on February 17,

2009 (the “Investor Creditors”). And like the fraudulent transfer claims, such claims brought on

behalf of the creditors, including the Investor Creditors, would not be subject to arbitration. See

Alguire II, 628 F.3d at 182; Motion to Quash at 9-11; Brief at 9-11.


2
   To bring a fraudulent transfer claim under TUFTA, the Receiver must show that the debtor transferor made the
transfer “with actual intent to . . . defraud any creditor of the debtor.” Alguire I at 10 (citing Tex. Bus. & Com. Code
Ann. § 24.005(a)(1)); Alguire II, 628 F.3d at 177 (same). When the transferor operated as a Ponzi scheme, then the
transfers are presumptively made with the intent to defraud, and the transferees’ knowing participation is irrelevant.
See Alguire I at 10-11 (“[T]ransfers made from a Ponzi scheme are presumptively made with intent to defraud,
because a Ponzi scheme is, as a matter of law, insolvent from inception.”); Alguire II, 628 F.3d at 175, 178
(evidence that Ponzi scheme existed obviates the need to prove fraudulent intent of transferees) (citing SEC v. Res.
Dev. Int'l, LLC, 487 F.3d 295, 301 (5th Cir. 2007) (analyzing TUFTA)). This Court has already found that the
presumptive intent established by the Stanford Ponzi Scheme satisfies the Receiver’s obligation under TUFTA. See
Alguire I at 11; Alguire II, 628 F.3d at 175. This Court has also ruled that a party may receive compensation from
the Stanford Ponzi Scheme even though it did not receive funds directly from SIB. See Alguire I at 11, 13; Alguire
II, 628 F.3d at 175, 177 (observing this Court’s rejection of defendants’ argument that they did not receive
compensation from the Ponzi scheme because they received funds from SGC, not SIB).



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B.      The Receiver’s Subpoena Seeks Information Vital to the Receivership Estate

        In addition to seeking discovery on potential fraudulent transfer claims, the Subpoena

seeks documents and information that are otherwise vital to the Receivership Estate.                        As

discussed above, the Court has charged the Receiver to track down and collect the illicit funds

that properly belong to the Receivership Estate and, ultimately, the Stanford Companies’

defrauded investors. Stanford Int'l Bank, 2011 WL 1378470, at *5; Order Appointing the

Receiver [10]. The Stanford Ponzi scheme’s complexity has complicated the Receiver’s efforts,

and while the Stanford estate “has many thousands of claimants, there are [as yet] startlingly few

assets to disperse to the Stanford victims.” Id. at *5-6 (citing Alguire II, 628 F.3d at 185). 3

        BDO’s accounting records, work papers, and Stanford Company Client documents will

give the Receiver critical information necessary to further untangle the Ponzi scheme, including

the many related-party transactions that allowed the Stanford Companies to distribute the

scheme’s illicit funds among its affiliated entities. The materials sought by the Subpoena are

highly important because they will substantially aid the Receiver’s efforts to track the funds used

in the Stanford Ponzi scheme. See Stanford Int'l Bank, 2011 WL 1378470 at *6 (due to

scheme’s “Byzantine structure” and breadth, “the process of recouping any fraudulently obtained

funds necessarily includes weeding through a massive number of individual transactions and any

documents and information related to those transactions”); Order Appointing the Receiver [10]

(directing and authorizing the Receiver to “[o]btain . . . documents, books, records, accounts,

deposits, testimony, or other information . . . sufficient to identify accounts, properties, liabilities,

causes of action, or employees of the Receivership Estate”).




3
  As of April 2011, the Receiver had traced only approximately $950 million of the Stanford Companies’ suspected
assets, and after expenses, the Receivership holds less than $100 million in cash on hand. Id. at *5.



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       If the Receiver is unable to access BDO’s examination and documentation of the

Stanford Companies’ accounting records, then the Receiver will have a “very little realistic

chance of tracking down the lost funds and returning them to defrauded investors, creditors, and

others taken advantage of by the Stanford [Ponzi scheme].” Stanford Int'l Bank, 2011 WL

1378470 at *5 (considering the merits of discovery concerning foreign nonparty Société

Générale Private Banking (Suisse) S.A.). As this Court has previously observed, “[i]n the end,

the greatest hardship would fall [on] the Ponzi schemes’ victims, who may be able to recover

only pennies on the dollar.” Id.

C.     The Receiver’s Subpoena is No Fishing Expedition

       BDO’s protests that the Receiver has embarked on a “fishing expedition” are groundless.

As discussed above, the Subpoena seeks critical documents and information concerning the

Receiver’s potential claims against BDO, including the creditors’ claims, as well as information

vital to the Receivership Estate. See, e.g., Stanford Int'l Bank, 2011 WL 1378470 at *6 (rejecting

“fishing expedition” argument because the nonparty’s accounts were used for transactions that

were integral to the Stanford Ponzi scheme). Moreover, BDO’s objection evinces a fundamental

failure to understand the Receiver’s duties to the Receivership Estate, as the Receiver is duty

bound to investigate potential claims on behalf of the Stanford Companies’ creditors. See Order

Appointing the Receiver [10] (directing and authorizing the Receiver to “[o]btain . . . documents,

books, records, accounts, deposits, testimony, or other information . . . sufficient to identify . . .

causes of action . . . of the Receivership Estate,” as well as “[i]nstitute, prosecute, compromise,

adjust, intervene in, or become party to such actions or proceedings in state, federal, or foreign

courts that the Receiver deems necessary and advisable to preserve the value of the Receivership

Estate, or that the Receiver deems necessary and advisable to carry out the Receiver’s mandate

under this [o]rder”).


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D.     The Investors Committee is a Proper Designee of the Receiver

       The Receiver properly designated the Investors Committee — which represents the

interests of the Stanford Companies’ Investor Creditors — to pursue discovery under the

Subpoena for such creditors’ benefit. The Receiver’s power and discretion to act in this regard is

evidenced by the orders of this Court, including this Court’s order authorizing and empowering

the Receiver to assign to the Investors Committee his right to pursue certain fraudulent transfer

claims on the creditors’ behalf.      See Stanford Int'l Bank, Ltd. [1267] (Order granting the

Receiver’s assignment of fraudulent transfer claims to Investors Committee). See also Stanford

Int'l Bank [1149] (Order forming Investors Committee) at ¶ 8 (“The Receiver and the [Investors]

Committee will cooperate in the identification and prosecution of actions and proceedings for the

benefit of the Receivership Estate and the Stanford Investors . . . ”); id. at ¶ 8(d) (“[t]o the extent

that the [Investors] Committee pursues . . . claims on behalf of the Receivership Estate with the

consent of the Receiver, the Receiver shall either assign such claims or causes of action to the

[Investors] Committee . . . or take other actions as may be reasonably requested by the

[Investors] Committee to ensure that the [Investors] Committee . . . is able to pursue such claims

on a class or other basis”); id. at ¶ 9(a) (“the Receiver agrees that the [Investors] Committee may

prosecute . . . claims . . . against [the Stanford Companies’] pre-receivership professionals

(including but not limited to accountants . . .) that are in the nature of malpractice, professional

negligence, breach of fiduciary duty, breach of contract, or similar claims arising out of such

professionals’ rendition of professional services to any of the [the Stanford Companies’] prior to

February 16, 2009”). In fact, BDO effectively admits that the Receiver may designate the

Investors Committee to pursue discovery under the Subpoena. See Motion to Quash at 7 (as

assignees, the Investors Committee and its members acquire the Receiver’s rights); Brief at 12-

13 (same). Therefore, BDO’s protests that it is somehow improper for the Investors Committee


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or its counsel to participate in pursuing discovery under the Receiver’s Subpoena should be

dismissed.

E.     The Receiver’s Subpoena is Reasonably Tailored

       1.      The Subpoena should not be limited to the SEC action or Receivership Estate

       The Court should overrule BDO’s objections that the Subpoena is improper because it is

not tailored to seek documents related to the SEC action, nor documents related to accounts of

the Receivership Estate. See Motion to Quash at 8; Brief at 14. As discussed above, the

Subpoena seeks critical documents and information concerning the Receiver’s potential claims

against BDO, including the creditors’ claims, as well as information that is otherwise vital to the

Receivership Estate.      Furthermore, this Court has already ruled that the Receiver’s broad

requests for a nonparty to produce “essentially all documents and materials in [its] control that

are related to the [Stanford Companies’] activities since January 1, 2000” are “reasonably

tailored to the circumstances of this case.” See Stanford Int'l Bank, 2011 WL 1378470 at *6

(considering the merits of discovery concerning foreign nonparty Société Générale Private

Banking (Suisse) S.A.).

       2.      BDO can determine the reasonableness of the Subpoena

       The Court should similarly overrule BDO’s objections that it cannot determine the

reasonableness of the Subpoena’s instructions, definitions, and requests because “BDO has no

clue as [sic] what it may have done wrong.” See Motion to Quash at 8; Brief at 14-15. BDO

cites no authority that the Receiver must pursue claims against BDO before it may properly seek

discovery. See id. BDO cannot cite such authority because, as discussed above, requiring the

Receiver to pursue claims before conducting discovery would be entirely inconsistent with the

Receiver’s charge to investigate potential claims and pursue information that is vital to the

Receivership Estate. Finally, as noted above, this Court has already ruled that the Receiver’s


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broad requests for a nonparty to produce “essentially all documents and materials in [its] control

that are related to the [Stanford Companies’] activities since January 1, 2000” are “reasonably

tailored to the circumstances of this case.” See Stanford Int'l Bank, 2011 WL 1378470 at *6

(considering the merits of discovery concerning foreign nonparty Société Générale Private

Banking (Suisse) S.A.).

        3.       BDO’s remaining objections are either meritless or moot

                 a.       Instruction No. 1. The Court should overrule BDO’s objection that the

Subpoena’s time frame is too broad. See Motion to Quash at 9; Brief at 16. Thus far, the

Receiver’s investigation shows that BDO provided services to the Stanford Companies as early

as 1995. 4 Given the interests of the Receivership Estate, the nature of the Stanford Ponzi

scheme, and BDO’s services for the Stanford Companies, it is not unreasonable for the Receiver

to request documents for the period of time when BDO provided services to the Stanford

Companies.       See id. (holding that Receiver’s broad requests for a nonparty to produce

“essentially all documents and materials in [its] control that are related to the [Stanford

Companies’] activities since January 1, 2000” are “reasonably tailored to the circumstances of

this case”).

        If BDO destroyed potentially responsive documents in accordance with its purported

document-retention policy, then BDO must not only demonstrate its proper compliance with that

policy, BDO must demonstrate that it has not violated this Court’s Order enjoining the

destruction of documents relevant to the Receivership Estate. See Motion to Quash at 9 (citing

Declaration of Lisa A. Morris at ¶¶ 4, 6); Brief at 16; S.E.C. v. Stanford Int'l Bank, Ltd., Civil

Action No. 3:09-CV-0298-N (N.D. Tex. filed Feb. 17, 2009) [8] (Temporary Restraining Order
4
   In fact, BDO admits that it first reviewed SGC’s financial information in 1995, and that it first audited SGC’s
financial statements for the year ending December 31, 1996 until early 2008. See Motion to Quash at 3 (citing Dec.
of Lisa A. Morris at ¶ 6).



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to freeze assets, require accounting, preserve documents, and authorize expedited discovery). It

is not the Receiver’s burden to narrow the time frame of his requests merely to accommodate

BDO’s destruction of documents.

               b.      Instruction Nos. 3 and 4. The Court should overrule BDO’s objections

concerning its obligation to produce a privilege log under Instruction No 3. See Motion to Quash

at 9-10; Brief at 16. First, BDO does not cite any authority to support its protests against a so-

called “pre-suit” privilege log requirement. See id. Second, BDO’s numerous objections of

privilege and purported confidentiality demonstrate the necessity of a privilege log for any

documents that BDO withholds from production. See id. See also Brief at 18. As for BDO’s

objections to Instruction No. 4 of the Subpoena, see Motion to Quash at 9 and Brief at 16-17, the

Receiver hereby waives the requirements imposed by Instruction No. 4 concerning documents

that are missing or no longer in existence. Thus, BDO’s objections regarding Instruction No. 4

are moot.

               c.      Definition No. 1. The Court should also overrule BDO’s objections to the

Subpoena’s definition of BDO. See Motion to Quash at 10; Brief at 17. The broad definition of

BDO is not unreasonable given the pervasive, international nature of the Stanford Ponzi scheme

and BDO’s services to the Stanford Companies through its domestic and affiliated international

offices. To date, the Receiver’s investigation has revealed that BDO offices in Ecuador, Mexico,

Peru, and Spain have also provided audit and other services to the Stanford Companies. The

Receiver’s continuing investigation may reveal the participation of even more foreign BDO

offices. If BDO objects that certain of its affiliated international offices are legally separate and

distinct entities, then it must produce sufficient evidence to support this objection and

demonstrate that the related documents sought by the Subpoena are not within BDO’s




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possession, custody, or control. It is not the Receiver’s burden to narrow its definition of BDO

to accommodate BDO’s unsubstantiated objections.

              d.      Definition No. 4.    BDO objects to Definition No. 4 to the extent it

imposes an obligation to produce publicly available documents. See Motion to Quash at 10. The

Receiver hereby waives the requirements imposed by Definition No. 4 of the Subpoena to the

extent it relates to BDO’s obligations to produce publicly available documents that are not

already in BDO’s possession, custody, or control. Thus, BDO’s objections regarding Definition

No. 4 are moot.

              e.      Request No. 1. The Court should overrule BDO’s objections to Request

No. 1, which asks BDO to produce a listing of all its Stanford Company Clients. See Motion to

Quash at 10. This request is not only reasonable, it is vital given BDO’s apparent destruction of

documents.   See Motion to Quash at 9 (suggesting that BDO has destroyed documents in

accordance with a purported document-retention policy of seven years and email retention policy

as short as only 97 days) (citing Declaration of Lisa A. Morris at ¶ 4). As noted above, BDO

first reviewed SGC’s financial information in 1995, and first audited SGC’s financial statements

for the year ending December 31, 1996 until early 2008. See Motion to Quash at 3 (citing Dec.

of Lisa A. Morris at ¶ 6). If the Receiver is limited to BDO’s document production alone, then

critical documents that may be available in the Stanford Company files could go undetected at

the expense of the Receivership Estate, undermining the Receiver’s efforts to pursue fraudulent

transfer claims if BDO contends that it took the Ponzi scheme proceeds in good faith and for

reasonably equivalent value.

              f.      Requests Nos. 2-7, 9, 11, and 13-24. The Court should overrule BDO’s

general objections that Requests Nos. 2-7, 9, 11, and 13-24 are overbroad or seek irrelevant




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documents. See Motion to Quash at 10; Brief at 17. BDO offers no precedent for its objections

that these requests, which generally seek “all” documents that “relat[e] to particular subjects,”

are facially overbroad or seek documents that are “unlikely to be relevant to any claim against

BDO.” See id. Furthermore, this Court has already held that such requests are proper under the

circumstances of this case. See Stanford Int'l Bank, 2011 WL 1378470 at *6 (the Receiver’s

requests for a nonparty to produce “essentially all documents and materials in [its] control that

are related to the [Stanford Companies’] activities since January 1, 2000” are “reasonably

tailored to the circumstances of this case”).

       Finally, it is simply absurd for BDO to object that its internal documents are irrelevant to

any claim. See Motion to Quash at 10. BDO cites no authority suggesting that a party’s internal

documents are irrelevant or otherwise protected from discovery. See id. In fact, BDO’s position

in this regard could not be further from the truth, as a party’s internal documents often provide

the most germane facts in litigation. In any event, BDO’s relevance objection is also baseless

because reliance is not an element of the Receiver’s or the Investors Committee’s potential

claims, nor is reliance an element of any claim that could be asserted in class litigation.

               g.      Requests Nos. 8, 10, 12, 20-21.         The Court should overrule BDO’s

objections that Requests Nos. 8, 10, 12, 20-21 improperly seek the discovery of confidential or

privileged information. See Motion to Quash at 10; Brief at 17-18. First, BDO’s objections that

certain requests seek private or confidential information lack merit because these concerns can

be addressed by a protective order. See Motion to Quash at 10 (objecting that certain requests

seek documents that are “confidential as a matter of law,” or confidential, private information of

BDO employees); Brief at 17-18 (same). As for any evidentiary privileges claimed by BDO, it is

improper for BDO to object on grounds of privilege. If BDO has a good faith basis to believe




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that any responsive documents are privileged, then BDO may withhold such documents from

production and produce a privilege log that provides sufficient information for the Receiver to

evaluate the application of BDO’s claimed privilege or protection.       See Fed. R. Civ. P.

26(b)(5)(A).

                                          IV.   PRAYER

       The Receiver and the Investors Committee respectfully request that the Court deny

BDO’s Motion to Quash in its entirety and order BDO to produce the documents and

information requested in the Receiver’s Subpoena within 14 days, including a privilege log, and

if BDO does not comply, that the Court order BDO to appear and show cause why it should not

be held in contempt of this Court. The Receiver and the Investors Committee request any further

and additional relief to which they may be rightly entitled.




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Dated: May 5, 2011
                                   Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       On May 5, 2011, I electronically submitted the foregoing document with the clerk of the

court of the U.S. District Court, Northern District of Texas, using the electronic case filing

system of the Court. I hereby certify that I will serve the parties to this case, and BDO USA,

LLP, through their counsel of record, electronically, or by other means authorized by the Court

or the Federal Rules of Civil Procedure.


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